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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



UNITED STATES OF AMERICA,


vs.                                                    CASE NO. 8:06-CR-86-T-17-EAJ


JASON SANDOVAL
                                     /


                     ORDER FINDING THE APPEAL TIMELY FILED


        This cause is before the Court on remand from the appellate court. The appellate court
remands for this Court to make a determination of the date of filing and, if untimely, to
determine the issue of excusable neglect or good cause.
        This Court entered a Judgment and Commitment Order as to this defendant on January
26, 2007, there was no amended judgment as suggested by the defendant. The notice of appeal
was postmarked from Miami, Florida on February 9, 2007, and docketed in this Court on
February 13, 2007.


        Pursuant to Rule 4(b), App. R., a defendant has ten (10) days from the entry of an order
to file a notice of appeal. Under, Rule 26, App.R., the intervening weekend days are not
included in the calculation. Therefore the tenth day for filing the notice of appeal fell on
February 9, 2007. The notice of appeal is postmarked February 9, 2007. Thus, pursuant to
Houston v. Lack, 487 U.S. 266 (1988), the notice of appeal was timely as it was clearly delivered
to the prison for mailing on or before February 9, 2007, constituting timely filing. Accordingly,
it is
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         ORDERED that the Court determines that the defendant’s notice of appeal was timely
filed.


         DONE and ORDERED in Chambers, in Tampa, Florida, this 18th day of April, 2007.




Copies to: All parties and counsel of record
